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               IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TEXAS
                          WACO DIVISION




  Patent Armory Inc.,                         Case No. 6:23-cv-00508-ADA

         Plaintiff,                           Patent Case

         v.                                   Jury Trial Demanded

  Bang & Olufsen A/S,

         Defendant.




    ORDER GRANTING PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL WITHOUT
                                PREJUDICE



The request to dismiss this matter without prejudice is hereby GRANTED.




SIGNED this day____ of______________ 2023.




                                          Hon. Alan D Albright
                                          UNITED STATES DISTRICT JUDGE
